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           9        DELORAZE LIMITED
         10
                                                   UNITED STATES DISTRICT COURT
         11
                                                 EASTERN DISTRICT OF CALIFORNIA
         12
                                                          SACRAMENTO DIVISION
         13
                    In re Application of:                            ) Case No.
         14                                                          )
                    DELORAZE LIMITED                                 )
         15                                                          ) DECLARATION OF SAVVAS
                                                 Applicant           ) KOUSOULOS IN SUPPORT OF
         16                                                          ) DELORAZE LIMITED'S APPLICATION
                    For the Issuance of a Subpoena for the Taking of ) TO CONDUCT DISCOVERY PURSUANT
         17         a Deposition and the Production of Documents ) TO 28 U.S.C. § 1782
                    Under 28 U.S.C. § 1782 to Kotaro Shimogori for )
         18         Use in Foreign Proceedings                       )
                                                                     )
         19                                                          )
                                                                     )
         20                                                          )
                                                                     )
         21
                           I, Savvas Kousoulos, declare:
         22
                           1.      I am the Director of the firm Deloraze Limited("Deloraze" or "Applicant").
         23
                           2.      I have personal knowledge of all facts alleged herein, except as to matters stated on
         24
                    information and belief, and as to those matters, I believe them to be true. If called to testify with
         25
                    regard to the facts alleged herein, I could do so competently.
         26
                           3.      Deloraze is a company registered in Cyprus in the business of providing payment
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                    consulting services for internet businesses. Deloraze ' s clients ("merchants") provide products and
         28
                    services to their respective customers in exchange for payments made by their customers via debit

                           DECLARATION OF SAVVAS KOUSOULOS IN SUPPORT OF APPLICATION FOR AN ORDER
                            PURSUANT TO 28 U.S.C. § 1782 FOR DISCOVERY FOR USE IN FOREIGN PROCEEDING
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           1        and credit cards, including those issued by Visa and Mastercard.
           2               4.      The Application relates to the funds owed to one of Deloraze's merchant clients
           3        (hereinafter, "D -Client").    Responsibility for the receipt and collection of these funds was
           4        contractually delegated to Deloraze in January 2023 as part of its payment consulting services,
           5        which include managing and collecting payments on behalf of the merchant.
           6               5.      As part of its services, Deloraze sources and engages third-party payment processors
           7        to act as intermediaries between banks and Deloraze's merchants to process debit and credit card
           8        payments. The payment processor in this matter is Pan Digital Network Limited ("PDN") , a UK
           9        limited liability company.
         10                6.      On information and belief, Respondent Kotaro Shimogori ("Respondent") is, and at
         11         all relevant times was, a director of PDN.
         12                7.      A payment processor typically has an existing arrangement with an "acquiring bank"
         13         who acquires (a/k/a processes) merchants' transactions through an electronic gateway, settles and
         14         clears the amounts in the merchants' accounts, and then transmits the merchants' funds, less the
         15         bank's earned fees, to the payment processor via bank transfer. Here, the acqui ring bank was
         16         Equity Bank Limited.
         17                8.      Upon receiving transfers from the acquiring bank, a payment processor is supposed
         18         to transmit payment, less the payment processor's fee (usually a modest percentage of the gross
         19         amount processed), to the merchants, or to a payment processing facilitator like Deloraze. This
         20         represents the net payment from the merchant's customers for the merchant's products and/or
         21         services.
         22                9.      The role of transmitting revenues to merchants sourced from the card payments of
         23         their respective customers has been referred to in the e-commerce industry as a "paymaster"
         24         function. Accordingly, there are often four main parties to a typical merchant transaction: a) the
         25         merchant (Deloraze's client); b) the payment processing facilitator (Deloraze); c) the payment
         26         processor and paymaster (PDN); and d) the acquiring bank (Equity Bank Limited).
         27                10.     The dispute underlying the Application is centered on PDN s failure to remit
         28         approximately $290,000 to Deloraze, which PDN is believed to have received directly from Equity

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           1        Bank Limited or through one or more entities PDN controls or subcontracted to, including, but not
           2        limited to AuthPay Ltd ("AuthPay") .

           3               11.     On or about October 25, 2022, Deloraze identified PDN as a suitable payment
           4        processing partner for its merchant clients.
           5               12.     PDN and Deloraze engaged in several preliminary discussions in the weeks leading
           6        to October 25, 2022, with the entities entering into a Data, Logistics and Service Processing
           7        Agreement on December 5, 2022 ("Processing Agreement") .
           8               13.     PDN agreed to operate as payment processor and paymaster to Deloraze/D-Client by
           9        disbursing the processed payments to D-Client, less the respective fees.
         10                14.     Prior to signing the Processing Agreement, Deloraze requested PDN to provide
         11         supporting documents to show PDN would be capable to provide the payment processing services
         12         described in the Processing Agreement, and in response, PDN provided Deloraze with a copy of an
         13         "Outsourced Agreement" between AuthPay and PDN identifying AuthPay as holding a qualifying

         14         merchant account with Equity Bank Limited.

         15                15.     Respondent Shimogori signed the Processing Agreement on behalf of PDN as its
         16         Director, on December 5, 2022. Georgios Papadopoulos, Director of Deloraze, signed on behalf of
         17         Deloraze on November 30, 2022.
         18                16.     Upon receipt of the funds, PDN was required to remit them (less its fee) to Deloraze.
         19                17.     PDN also was required to compile and send weekly Invoices (reflecting settlement
         20         reports) to Deloraze to help monitor and reconcile its clients' transactions, which it failed to do.
         21                18.     The first transaction was processed in January 2023 and the last transaction was
         22         processed in February or March 2023. No settlement reports or Invoices covering any transactions
         23         for Deloraze were ever received, thereby leaving several weeks of transactions unaccounted for.
         24                19.     PDN's first settlement payment was due to Deloraze on February 20,202 3. PDN did

         25         not remit a single payment to Deloraze and the payment issues remain unresolved. At present,
         26         Deloraze believes that PDN has failed and refuses to timely remit a total of approximately
         27         $290,000.00 owed to Applicant.
         28                20.     On February 22, 2023 PDN sent an e-mail to Applicant in which it claimed the funds

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           1        were being used to offset $325,000 in fines imposed by Visa and Equity Bank Limited and
           2        attaching purported Visa "Global Brand Protection Program" letters reflecting Case ID Nos. 26221,
           3        26222, 26223, 26224 and 26228, all regarding merchant name "PocketGym," along with a word
           4        document entitled "Merchant Details Deloraze Limited" showing PDN' s acqmrer information,
           5        purported descriptors used, and fee breakdown, as demonstrated in the screenshot from the PDN
           6        document provided below:
           7

           8
                                                Acquirer used far processing:
           9                                    Acqu irer Name: Equity Bank Limited
                                                Acquirer Country: Kl: NiYA
         10                                     Descriptors: Pocket GVM, DataWhizz
                                                MCC: 5399
         11
                                                Fee breakdown pe.r credit card infringe ment:
         12
                                                25,000- Visa !Fine
         13
                                                25,000 - Ba n!k Fine
         14                                     15,000- Fee to the bank representativ,e
                                                Total: 65,000 USO (per fine)
         15
                                                65,000 x 5 credlit card infringement = 325,000 USO
         16

         17

         18                21.    In response to these issues, Applicant has repeatedly pressed PDN for supporting

         19         documents demonstrating the claimed $325,000 in fines and fees by Visa and Equity Bank Limited

         20         were actually imposed. To date, no such supporting documents have been provided by PDN.

         21                22.    Deloraze is a company registered in Cyprus with its principal place of business

         22         located in business located in 41 Themistoklis Dervis Street, Hawaii Tower, 1st Floor, Office 106,

         23         Nicosia, Cyprus.

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                           DECLARATION OF SAVVAS KOUSOULOS IN SUPPORT OF APPLICATION FOR AN ORDER
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           1               I declare under penalty of perjury under the laws of the United States of America that the
           2        foregoing is true and correct.
           3               Executed this 5th day of April 2024, in Cyprus.
           4                                                     By:________________________________
                                                                    SAVVAS KOUSOULOS
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